Case 1:23-mc-00070-LAK-GWG Document 66-18 Filed 08/23/23 Page 1 of 5




                   EXHIBIT 18
To:       Stephanie Ruhle[sruhle2@bloomberg.net]
From:      KP13 Case 1:23-mc-00070-LAK-GWG Document 66-18 Filed 08/23/23 Page 2 of 5
Sent:      Mon 1/11/2016 3:22:49 PM (UTC-05:00)
Subject:   FW: UA US: Under Armour Inc - Warm weather and market share concerns creating better entry point in UA shares - BUY -
United States

And here comes the cavalry ....




From: BofAML-Robert Ohmes (mailto:feedback@mlresearch.ml.com]
 Sent: Monday, January 11, 2016 2:50 PM
 To: Shaw, Tom
 Subject: UA US: Under Armour Inc - Warm weather and market share concerns creating better entry point in UA shares - BUY -
 United States




                                                                                                          BankofAmerica . . .
                                                                                                          Men-ill Lynch




       Under Armour Inc



      Warm weather and market share concerns creating better entry
      point in UA shares



      Reiterate Rating: BUY


      PO: 108.00 USO I Price: 69.03 USO



      Equity I 11 January 2016




       Key takeaways


           Warm weather in 4Q15 could create EPS risk, but we believe concerns are overblown and Under Armour
           has many offsets.

   CONFIDENTIAL                                                                                                 UA_01171451
      We believe Under Armour's footwear momentum remains very strong and average selling price concerns
             Case 1:23-mc-00070-LAK-GWG Document 66-18 Filed 08/23/23 Page 3 of 5
      are also overblown.
      Following Outdoor Retailer, we believe the product launch outlook for Under Armour is better y/y.




  Warm weather creates 4Q risk, but concerns overblown
  UA is expected to report 4Q15 EPS on Jan. 28 and given UA's exposure to the cold weather category
  (particularly thru UA's "Cold Gear" compression and "Base Layer" businesses) there could be some risk to our
  and consensus 4Q estimate of $0.47. However, downside should be minimized by likely initial conservative
  UA plans and guidance for 4Q, more diversity of UA apparel offerings vs. LY, strong footwear (led by Steph
  Curry 2 shoe), and International growth continuing. In addition, UA's outlet business and partnership with TJX
  should enable UA to manage excess cold weather inventory well, particularly since Under Armour appeared
  less promotional than other brands in our store checks in December (most of UA section was full price at
  Dick's Sporting Goods and Sports Authority, but big logo hoodies still 25% off).

  Market share and ASP concerns also appear overblown
  We believe market share and average selling price concerns pressuring UA shares are overblown for several
  reasons: (1) UA does not have a mid-tier channel focus given how early the company is in its growth, so
  Nike's success in the mid-tier Dept. store channel (particularly at KSS) is likely overstating the appearance of
  market share loss as KSS began participating in Sportscan in 2H15; (2) Nike has a much smaller presence in
  Outerwear, which would also make outdoor brands/UA appear to be losing share over the abnormally warm
  weather period just experienced; (3) in footwear, UA's average selling prices have come down since 2013
  (when UA did less than $300MM in footwear sales)- but that reflects a broadening of UA's footwear business
  away from high price point cleated footwear into $70-80 running and basketball sneakers as well as strong
  growth in kid's footwear - which also is lower average priced vs. adult footwear. We do not view this as a
  concern as UA footwear continues to grow 100%+ off of a low base in Sportscan and the UA strategy
  continues to reflect increasing offerings of higher price point running and basketball styles as well as new high
  price point offerings in outdoor (including "Fat Tire".

  2016 should be a strong revenue year for UA
  We see upside to UA's previous preliminary 2016 guidance for revenue growth of 25% and operating income
  growth of 23%, as we see revenue strength to be driven by: (1) continued low-20% growth rate in apparel
  supported by broader department store offerings (Macy's) and new product launches (including Reactor); (2)

CONFIDENTIAL                                                                                              UA_01171452
  direct-to-consumer growth driven by UA outlets, same store sales growth, e-commerce, and flagship specialty
              Case 1:23-mc-00070-LAK-GWG Document 66-18 Filed 08/23/23 Page 4 of 5
  store openings; (3) 40%+ growth in footwear with potential upside as UA increases penetration in mall
  accounts (led by Steph Curry basketball, SpeedForm and other new UA footwear platforms - including Fat
  Tire); & (4) International growth as we believe UA is in the early stages of aggressive International expansion,
  driven by an outlook for China to reach $150MM in sales in 2016 (from roughly $70MM in 2015) led by
  franchise store openings in addition to growth in Europe (now over $130MM)- UK/Germany/France
  (supported by new e-commerce launches).

  Outdoor Retailer: UA 2016 product outlook better vs. LY
  Following the Outdoor Retailer tradeshow last week, we believe Under Armour's apparel product pipeline is
  stronger compared to last year driven by the launch of a new synthetic insulation, Reactor. Reactor will be a
  UA's largest outerwear technology launch since Coldgear Infrared (two years ago - now in 70% of products).
  Reactor will launch with 26 styles across all channels that will add transitional outerwear and lifestyle product
  to Under Armour's offering. Under Armour is also seeing strong momentum in its outdoor footwear and we
  expect more styles of the Fat Tire (strong launch in 2015) and launch of the Speedfit boot to support ongoing
  growth in that category.




  Robert F. Ohmes, CFA C:2l
  Research Analyst
  MLPF&S
  +1 646 855 0078




  This report is intended for Tom Shaw



  Bank of America,...
  MerrlH lynch




  Read the research report for complete information including important disclosures and analyst certification(s).


  The research report and the link to such report are for the use of Bank of America Merrill Lynch customers only or Merrill Lynch Global Wealth
  Management customers only and all copying, redistribution, retransmission, publication, and any other dissemination or use of the contents thereof are
  prohibited. There may be more recent information available. Please visit one of the electronic venues that carry BofA Merrill Lynch Global Research
  reports or contact your Bank of America Merrill Lynch representative or Merrill Lynch Global Wealth Management representative for further information.
  "Bank of America Merrill Lynch" is the marketing name for the global banking and global markets businesses of Bank of America Corporation.


CONFIDENTIAL                                                                                                                              UA_01171453
                Case 1:23-mc-00070-LAK-GWG Document 66-18 Filed 08/23/23 Page 5 of 5
  Stop or modify the delivery of Research via Emails. Alternatively, contact Research Operations:




  The Americas: +1 888 734 1391 or +1 646 556 2910
  Asia Pacific (ex-Japan) & Australasia: +800 7724 6510 (Press "3")
  Europe, Middle East, Africa: +44 20 7996 4444
  Japan: +81 3 6225-8900
  Publication: 1219359-11589870. pdf




  Recipient: Torn Shaw


  http://rsch.barnl.com/r?q=co0r0rnbJ5t CYNeDOOHeWw         &e=tshaw°,M0underarrnour.com&h=IONv g




CONFIDENTIAL                                                                                        UA_01171454
